Case 2:93-cv-00902-RBS Document 475 Filed 08/17/18 Page 1 of 15 PageID# 1070




                          THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Norfolk Division


R.M.S. TITANIC, INC.,
Successor in interest to Titanic
Ventures, limited partnership,

       Plaintiff,

v.                                                     Civil Action No.: 2:93cv902

The Wrecked and Abandoned
Vessel, . . . believed to be
The RMS TITANIC, in rem,

       Defendant.


MEMORANDUM IN SUPPORT OF THE TRUSTEES OF THE NATIONAL MARITIME
                MUSEUM MOTION TO INTERVENE

       COMES NOW the Trustees of the National Maritime Museum (“NMM”), by and

through its undersigned counsel, and pursuant to Fed. R. Civ. P. 24(a) and (b) moves to intervene

in the above-captioned action, brought by Plaintiff R.M.S. TITANIC, Inc. (“RMST”), upon the

following grounds:

                                   PRELIMINARY STATEMENT

       As this Court is aware, three mutually-exclusive proposals for the disposition of the

estates of debtor RMST and certain of its affiliates (“Debtors”) have been filed in the United

States Bankruptcy Court for the Middle District of Florida, Jacksonville Division (the

“Bankruptcy Court”) under docket number 3:16bk02230 (the “Bankruptcy”). Each of these

proposals will entail either (i) the sale or transfer of RMST’s interest in the artifacts recovered

from the wreck of the R.M.S. Titanic, or (ii) a transfer or sale 100% of the equity of the entity

that owns or controls such artifacts, and will therefore require the approval of this Court or a
Case 2:93-cv-00902-RBS Document 475 Filed 08/17/18 Page 2 of 15 PageID# 1071




determination by this Court of rights with respect to those artifacts. The Bankruptcy Court has

recognized the unique circumstances governing the Titanic artifacts and recently instructed the

proponents of these proposals to “move in [this] Court for any approvals or determinations

required by [this] Court to complete the proposed transactions.”

        NMM wishes to progress the bankruptcy proceedings as efficiently as possible for the

benefit of all parties, and especially in light of Debtors’ recently expressed concern that delays in

resolving the Bankruptcy may be detrimental to the estate. To that end, NMM believes that it

will be most efficient, and cost-effective, for this Court to proceed now in assessing the three

proposals before the Bankruptcy Court to determine if their dispositions of the Titanic artifacts

will comport with the Revised Covenants and Conditions. NMM encloses with this Motion to

Intervene a proposed complaint seeking a declaratory judgment that NMM and NMNI each

constitute a Qualified Institution under the terms of the Revised Covenants and Conditions.1 See

Exhibit 1.

                                                    FACTS

        NMM, which was founded by an Act of the U.K. Parliament in 1934, is the largest and

preeminent maritime museum in the world and the leading custodian of the United Kingdom’s

maritime heritage. See Exhibit 2, Declaration of Dr. Kevin Fewster (“Fewster Decl.”), at ¶ 2.

NMM possesses significant experience in the preservation and conservation of maritime artifacts

and is one of a select group of national museums and galleries to receive direct funding from the

U.K. Parliament to support its work. Id. at ¶¶ 2-3.

        On June 29, 2018, NMM, the Official Committee of Unsecured Creditors, the Board of

Trustees of the National Museums and Galleries of Northern Ireland (“NMNI”), and Running


1
    Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Revised
    Covenants and Conditions.

                                                        2
Case 2:93-cv-00902-RBS Document 475 Filed 08/17/18 Page 3 of 15 PageID# 1072




Subway Productions, LLC (collectively, the “Museum Plan Proponents”) filed a joint chapter 11

plan (the “Museum Plan”) and an accompanying disclosure statement in the Bankruptcy.

Bankruptcy Docket 1084-1085. The Museum Plan provides, among other things, that NMM and

NMNI would be the Trustees of the Subject TITANIC Artifact Collection and obtain all other

rights and interests of RMST with respect to the TITANIC Collections. It is a condition

precedent to the effectiveness of the Museum Plan that this Court approve NMM and NMNI as

subsequent Trustees of the Subject TITANIC Artifact Collection and the transfer of RMST’s

other rights and interests with respect to the TITANIC Collections to NMM and NMNI. See

Museum Plan Proponents’ Joint Chapter 11 Plan of Reorganization (Bankruptcy Docket 1084) at

Art. XI.B.2.

       The Museum Plan is supported by a variety of constituents in the Debtors’ bankruptcy

cases, including the Official Committee of Unsecured Creditors, as well as individuals and

organizations associated with the R.M.S. Titanic. Dr. Robert Ballard has described the Museum

Plan as “the only viable option to retain the integrity of the Titanic collection.” See Exhibit 3,

Declaration of James I. McClammy (“McClammy Decl.”), Attachment 1, at 3. The President and

CEO of the National Geographic Society, Michael Ulica, has commented that the “repatriation of

the shipwreck’s artifacts presents an historic opportunity to honor the Titanic’s lasting legacy.”

See McClammy Decl., Attachment 2, at 4. It is the goal of NMM to return the TITANIC

Collections to the United Kingdom, to be held in perpetual public ownership, to be conserved

and curated as an integral whole, and to be saved for posterity for public display, historical

review, scientific and scholarly research and educational purposes. See Fewster Decl. at ¶ 6.

NMM respectfully submits that its goals with respect to the TITANIC Collections mirror the

Court’s goals in preserving and protecting this unique maritime heritage.



                                                  3
Case 2:93-cv-00902-RBS Document 475 Filed 08/17/18 Page 4 of 15 PageID# 1073




       Prior to the filing of the Museum Plan, on June 15, 2018, the Debtors filed a motion (the

“Sale Motion”) proposing to sell substantially all of the assets of the Debtors’ estates, including

100% of the capital stock of RMST, to Premier Acquisition Holdings LLC (the “Stalking Horse

Purchaser”), an entity formed by affiliates of Apollo Global Management, LLC and Alta

Fundamental Advisers LLC, Haiping Zou, Lange Feng, Jihe Zhang, and PacBridge Capital

Partners (HK) Ltd. Bankruptcy Docket 1055. Notably, the bidding process proposed by the

Debtors’ Sale Motion would preclude NMM from participating because, for example, NMM

must fundraise the purchase price and cannot provide a non-refundable deposit. The Sale

Motion and the Asset Purchase Agreement attached as Exhibit B to the Sale Motion require that

this Court approve the sale of 100% of the capital stock of RMST to the Stalking Horse

Purchaser. Id. at ¶ 32(l). On June 29, 2018, the Debtors filed with this Court a motion to

approve the Asset Purchase Agreement and authorize the sale of 100% of the capital stock of

RMST to the Stalking Horse Purchaser.

       On July 25, the Bankruptcy Court convened a status conference at which the various

parties presented argument as to how best to proceed in light of, among other things, the Revised

Covenants and Conditions and the jurisdiction of this Court over the Subject TITANIC Artifact

Collection. A copy of the transcript of the status conference is attached as Exhibit 3 to the

McClammy Declaration. Following the status conference, the Bankruptcy Court issued a written

order dated August 2, 2018 (the “August 2 Order”), which is attached as Exhibit A to the most

recent Periodic Report filed by RMST. In the August 2 Order, the Bankruptcy Court set a joint

hearing to consider the adequacy of the disclosure statements for the Museum Plan and the plan

proposed by the Official Committee of Equity Security Holders (the “Equity Committee”) and

the bidding procedures associated with the Debtors’ Sale Motion on August 30. In addition, the



                                                 4
Case 2:93-cv-00902-RBS Document 475 Filed 08/17/18 Page 5 of 15 PageID# 1074




Bankruptcy Court told the proponents of the three pending proposals to “take the steps that they

believe are necessary for approval of the proposed sales by [this] Court”:

               Finally, the parties should take the steps that they believe are
               necessary for approval of the proposed sales by the District Court.

               The Titanic artifacts are subject to administration by the United
               States District Court for the Eastern District of Virginia, and are
               also subject to the “Covenants and Conditions for the Future
               Disposition of Objects Recovered from the RMS TITANIC by
               RMS Titanic, Inc. Pursuant to an In Specie Salvage Award
               Granted by the United States District Court for the Eastern District
               of Virginia.” (See Doc. 28, pp. 3-10) . . . .

               Because the Debtor’s assets are also subject to the jurisdiction of
               the District Court in Virginia, the parties should move in that Court
               for any approvals or determinations required by the District Court
               to complete the proposed transactions. See, for example, In re
               Aqua Pesca, LLC, 2018 WL 3031085, at 4 (Bankr. D. Alaska) (A
               sale order directed the parties to take “such steps as are necessary
               or appropriate to obtain” the approval of the applicable licensing
               authority).

See August 2 Order at 4-5.

       NMM now appears in order to seek certification as a “Qualified Institution” under the

Revised Covenants and Conditions and other related relief.

                                     LEGAL ARGUMENT

       NMM moves to intervene under Fed. R. Civ. P. 24(a) and (b) so that the Court can

determine whether NMM is a “Qualified Institution” under the Revised Covenants and

Conditions, whether the proposed replacement Trustees identified in either of the competing

plans for disposition of the TITANIC Collection so qualify, and other related relief. NMM

encloses with this Motion to Intervene a proposed complaint seeking a declaratory judgment that

NMM and NMNI each constitute a Qualified Institution. NMM submits that it qualifies for

intervention as of right and permissive intervention upon the following grounds:



                                                5
Case 2:93-cv-00902-RBS Document 475 Filed 08/17/18 Page 6 of 15 PageID# 1075




   1. NMM Should Be Allowed to Intervene as of Right

       In order to intervene as of right under Fed. R. Civ. P. 24(a), an applicant must meet the

following four requirements: (1) the application to intervene must be timely; (2) the applicant

must have an interest in the subject matter of the underlying action; (3) the denial of the motion

to intervene would impair or impede the applicant’s ability to protect its interest; and (4) the

applicant’s interest is not adequately represented by the existing parties to the litigation. Fed. R.

Civ. Proc. 24(a); Newport News Shipbuilding & Drydock Co. v. Peninsula Shipbuilders’ Ass’n,

646 F.2d 117, 120 (4th Cir. 1981).

       (i)     The Application is Timely

       NMM’s Motion to Intervene is timely because (i) the instant salvage action remains

pending and there has not been a final determination in this case, and (ii) because NMM’s right

to intervene arises in connection with the recently-filed Museum Plan and the directive from the

Bankruptcy Court to seek necessary approvals from this Court. Timeliness is a “cardinal

consideration” in determining whether to permit intervention. Brink v. DaLesio, 667 F.2d 420,

428 (4th Cir. 1981). The determination of timeliness is committed to the discretion of the

District Court. NAACP v. New York, 413 U.S. 345, 365–66, 93 S. Ct. 2591, 37 L.Ed.2d 648

(1973); Gould v. Alleco, Inc., 883 F.2d 281, 284–86 (4th Cir. 1989), cert. denied, 493 U.S. 1058,

110 S.Ct. 870, 107 L.Ed.2d 953 (1990). In this case, there has been no final determination of

salvage rights and the matter remains open. No final judgment has issued, and no appeal or

similar deadlines have passed. Moreover, the need for NMM to appear before this Court only

arose recently in connection with its submission of the Museum Plan, and the ability of bidders

for the TITANIC Collection to appear in this action without risk of violating the automatic stay




                                                  6
Case 2:93-cv-00902-RBS Document 475 Filed 08/17/18 Page 7 of 15 PageID# 1076




in the Bankruptcy Action was only made clear by the August 2 Order. NMM respectfully

submits that the instant Motion to Intervene is therefore timely.

        (ii)    NMM has an Interest in the Subject Matter

        NMM has an interest in the subject matter of this action, the TITANIC Collection,

because NMM has proposed the Museum Plan in the Bankruptcy Court which, if accepted, will

allow NMM to acquire the collection subject to further order by the Court. While Rule 24(a)

does not specify the nature of the interest required for a party to intervene as a matter of right, the

Supreme Court has recognized that “[w]hat is obviously meant ... is a significantly protectable

interest.” Donaldson v. United States, 400 U.S. 517, 531, 91 S.Ct. 534, 542, 27 L.Ed.2d 580

(1971). In the Fourth Circuit, intervention under Rule 24(a) is permissible where the interest

asserted is contingent on other pending litigation. Teague v. Bakker, 931 F.2d 259 (4th Cir.

1991) (allowing intervention where plaintiff sought declaratory judgment impacting liability in a

separate action). In this case, NMM stands to gain or lose by the direct legal operation of this

Court’s ruling on RMST’s motion to approve the Asset Purchase Agreement selling the

TITANIC Collection to the Stalking Horse Purchaser. Having sought this Court’s ruling that the

Asset Purchase Agreement filed with the Bankruptcy Court ought to be approved by this Court,

RMST can hardly be heard to now complain that similarly situated plan proponents should not

have the same remedy. Under these facts, it is beyond cavil that the NMM has a “significantly

protectable interest” in the subject matter of this litigation.

        (iii)   Denial of This Motion Will Impair NMM’s Ability to Protect its Interest

        If NMM does not appear in this action, its interest in acquiring the TITANIC Collection

will be significantly impaired. RMST has sought this Court’s approval of the Asset Purchase

Agreement and transfer of the stock of RMST to the Stalking Horse Purchaser. RMST’s motion



                                                   7
Case 2:93-cv-00902-RBS Document 475 Filed 08/17/18 Page 8 of 15 PageID# 1077




seeking this approval is entirely self-serving, as the Stalking Horse Purchaser is a new entity

formed and owned by certain of the current equity holders of Premier Exhibitions, Inc., including

Haiping Zou, Jihe Zhang, and Lange Feng, each of whom has been identified as a statutory

insider of RMST under section 101(31) of the Bankruptcy Code. Bankruptcy Docket 172.

Furthermore, the Debtors’ bidding procedures contain provisions that the Debtors knew (based

upon discussions with NMM) would entirely preclude NMM, which must fundraise the purchase

price and cannot provide a non-refundable deposit, from bidding. This Court’s approval of the

proposed sale of RMST to the Stalking Horse Purchaser will sideline NMM and throw a chill

over other bidders for the TITANIC Collection, thereby clearing the field of potential

competitors. If this occurs, RMST will be able to present a successful bid at the Bankruptcy

Court as a fait accompli to this Court. Instead, it is respectfully submitted, this Court should

have the opportunity to consider the competing plans for disposition of the TITANIC Collection

and identify those that pass muster under the terms of the Revised Covenants and Conditions.

       (iv)    NMM’s Interest is Not Adequately Protected by RMST

       NMM’s interest in acquiring the TITANIC Collection is not adequately protected by

RMST. It is self-evident that RMST and NMM are in opposition, as RMST attempts to sell itself

to statutory insiders while NMM is trying to obtain the TITANIC Collection for public display in

one of the world’s foremost maritime museums. RMST’s opposition to NMM’s attempt to put

the Museum Plan and NMM’s qualifications before the Court to become a “Qualified

Institution” under the Revised Covenants and Conditions (and to even to put the Museum Plan

before the Bankruptcy Court for consideration) underlines that RMST is incapable of protecting

NMM’s interest because RMST’s owners have a diametrically opposed plan.




                                                 8
Case 2:93-cv-00902-RBS Document 475 Filed 08/17/18 Page 9 of 15 PageID# 1078




    2. In the alternative, NMM Qualifies for Permissive Intervention

        Permissive intervention under Fed. R. Civ. P. 24(b)(B) allows the Court to permit anyone

to intervene who has a claim or defense that shares with the main action a common question of

law or fact. The decision to grant a motion for permissive intervention pursuant to Rule 24(b)

“lies within the sound discretion of the trial court” although “some standards have been

developed to guide the courts in making intervention determinations.” See Hill v. W. Elec. Co.,

672 F.2d 381, 386 (4th Cir. 1982). The Fourth Circuit has indicated that an important factor to

consider for permissive intervention is whether the original parties will be prejudiced. Id. at 386;

Spring Construction Co. v. Harris, 614 F.2d 374, 377 (4th Cir. 1980) (“[M]ost important

consideration (in passing on an application for intervention) is whether the delay has prejudiced

the other parties.”).

        RMST seeks an order finding the Sale Motion to be valid and a transfer of RMST’s

equity to the Stalking Horse Purchaser that would be good against any other claimant to the

TITANIC Collection no matter where situated. It is only equitable to allow those who would be

prejudiced by such an order to appear and advance their own plans for disposition of the

TITANIC Collection. In addition, the Bankruptcy Court has directed the various plan

proponents to appear before this Court to obtain the relief they believe necessary. It has long

been understood by the Bankruptcy Court and the Debtors that a condition to any successful

resolution of RMST’s bankruptcy is this Court’s determination that any plan or sale complies

with the Revised Covenants and Conditions. See Order Authorizing Entry Into Plan Support

Agreement (Bankruptcy Docket 642) at 3 (noting on July 6, 2017 that any sale of the American

collection was conditioned on this Court’s approval consistent with the Revised Covenants and




                                                 9
Case 2:93-cv-00902-RBS Document 475 Filed 08/17/18 Page 10 of 15 PageID# 1079




Conditions). Finally, NMM’s standing in the Bankruptcy, which appears to share concurrent

jurisdiction over RMST with this Court, strongly supports allowing intervention.

       (i)     There is No Prejudice

       RMST is bankrupt but failed to advance a confirmable plan of reorganization when it had

the exclusive right to do. Other constituencies in addition to the Museum Plan proponents have

advanced plans to acquire the TITANIC Collection. The plans before the Bankruptcy Court will

result in some amount of money being injected into the Debtors’ estate, thereby providing money

to satisfy creditor claims. Given RMST’s position that time is of the essence, moving forward

expeditiously in this Court to ensure the Museum Plan can go effective as quickly as possible if

that plan is confirmed is to the benefit of, and will not prejudice, RMST or its creditors.

       (ii)    Equity Supports Granting NMM’s Motion to Intervene

       According to the Sale Motion, the Debtors seek to sell RMST to the Stalking Horse

Purchaser. RMST has moved the Court to approve the Asset Purchase Agreement but apparently

takes the position that no other proposals for the disposition of the TITANIC should be

considered. RMST opposes the appearance of NMM in this action, arguing that NMM does not

have standing to appear in this in rem salvage action.

       The Fourth Circuit, however, has stated that “[a]ctions in rem, or ‘against the thing,’ are

designed to adjudicate rights in specific property against all of the world, and judgments in such

cases are binding to the same extent.” Darlak v. Columbus-America Discovery Group, Inc., 59

F.3d 20, 22 (4th Cir.1995) (emphasis added), cert. denied, 516 U.S. 1094, 116 S.Ct. 817, 133

L.Ed.2d 761 (1996). This rationale also applies to in rem admiralty proceedings: “The whole

world . . . are parties in an admiralty cause; and, therefore, the whole world is bound by the

decision.” Id. at 22-23 (citations omitted). The Court relied on this reasoning in allowing a



                                                 10
Case 2:93-cv-00902-RBS Document 475 Filed 08/17/18 Page 11 of 15 PageID# 1080




challenge to the initial salvage award made in this matter. R.M.S. Titanic v. Wrecked and

Abandoned Vessel, 920 F.Supp. 96 (1996).

       If RMST is able to obtain an order approving the Asset Purchase Agreement and

authorizing the sale of 100% of the capital stock of RMST to the Stalking Horse Purchaser it will

create an advantage over any other bids in addition to undermining the Museum Plan. Such an

order would, due to the nature of salvage claims, bind the whole world and be highly prejudicial

to NMM’s attempt to acquire the TITANIC Collection. Paraphrasing Judge Clarke, if the whole

world can be bound by an order disposing of the TITANIC Collection, then the whole world

must have standing to challenge so being bound. See R.M.S. Titanic, 920 F.Supp. at 98. It is

thus only fair and equitable that NMM be allowed to intervene in this action.

       (iii)   The Bankruptcy Court Has Directed the Parties To Appear in this Action

       In deciding whether to exercise its discretion and grant permissive intervention to NMM,

it is respectfully noted that NMM has been directed to do so by the Bankruptcy Court. Pursuant

to the August 2 Order, the Bankruptcy Court specifically instructed the parties to seek any

approvals or determinations required by this Court to complete the transactions proposed in the

Bankruptcy Court. August 2 Order, p 5. As this Court is aware, the Bankruptcy Court currently

has before it three separate proposals that would result in the sale of RMS Titanic, Inc. or the

Subject TITANIC Artifact Collection: (1) the Sale Motion, (2) the Museum Plan, and (3) the

chapter 11 plan proposed by the Equity Committee. It is entirely possible, if not certain, that at

least one of the planned dispositions of the TITANIC Collection will not pass muster with this

Court if, for example, it provides for the break-up of the TITANIC Collection or transfers control

of the Subject TITANIC Artifacts to an entity other than a Qualified Institution.




                                                 11
Case 2:93-cv-00902-RBS Document 475 Filed 08/17/18 Page 12 of 15 PageID# 1081




       Accordingly, whether or not the competing plans for the TITANIC Collection comply

with the Revised Covenants and Conditions is ripe for review by this Court. Moreover, to the

extent the Court determines appropriate, all three competing plans raise the question of whether

the respective purchasers are “Qualified Institutions” under the Revised Covenants and

Conditions. If this review is not undertaken now, the August 2 Order makes clear that the

TITANIC Collection will be sold under the Bankruptcy Code to the highest bidder, a result that

may divest this Court of any meaningful review of the qualifications of that bidder.

       (iv)    NMM’s Standing in the Bankruptcy Supports Standing Here

       Assuming the TITANIC Collection is part of the Debtors’ estate, the Bankruptcy Court

and this Court both have jurisdiction over that asset. NMM, as a plan proponent, is properly

before the Bankruptcy Court and has filed papers that would control the disposition of the

TITANIC Collection. As the Bankruptcy Court has noted, this Court’s approval and

determinations regarding the TITANIC Collection are dispositive with respect to this asset.

Since NMM is properly before the Bankruptcy Court via the Plan and Disclosure Statement, it

would be an anomaly if NMM were not also before the Court with jurisdiction to determine

whether or not that Plan and Disclosure Statement are capable of being enacted.

       Moreover, RMST is litigating the Asset Purchase Agreement before this Court by

attacking the competing plans filed by the Museum Plan Proponents and the Equity Committee.

Since neither of these interested parties has a chance to argue the merits of their plans for the

TITANIC Collection, RMST is essentially trying to place the Asset Purchase Agreement ahead

of any other plan by having it pre-emptively endorsed by this Court. RMST’s objection to

NMM’s Notice of Appearance simply illustrates that RMST is attempting to clear the field for




                                                 12
Case 2:93-cv-00902-RBS Document 475 Filed 08/17/18 Page 13 of 15 PageID# 1082




itself and is desperate to keep any other proposal from consideration. This is patently

inequitable.

       It is respectfully further noted that the instant case and the Bankruptcy are singular

proceedings in that both the Bankruptcy Court and this Court appear to have overlapping

jurisdiction over the res at issue. The res is also unique. As the Agreement Concerning the

Shipwrecked Vessel R.M.S. Titanic notes, TITANIC is “an underwater historical wreck of

exceptional international importance having a unique symbolic value”. (Article 2(b)). In light of

the unprecedented nature of both the property and the jurisdiction of the Bankruptcy Court and

this Court over that property, it is perfectly reasonable for the Court to hear from other possible

trustees of the TITANIC Collection.

                                         CONCLUSION

       For the foregoing reasons, it is respectfully submitted that the instant Motion to Intervene

be granted.




                                                 13
Case 2:93-cv-00902-RBS Document 475 Filed 08/17/18 Page 14 of 15 PageID# 1083




                                            TRUSTEES OF THE NATIONAL
                                            MARITIME MUSEUM

                                            By: /s/ Edward J. Powers
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                                             14
Case 2:93-cv-00902-RBS Document 475 Filed 08/17/18 Page 15 of 15 PageID# 1084




                              CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on August 17, 2018, the foregoing pleading was
electronically filed with the Court’s ECF system causing ECF notification to be sent to all
counsel of record.



                                                 /s/ Edward J. Powers

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                                            15
